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                                     )
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                                     )
      Plaintiffs,                    )           ACTION
                                     )
v.                                   )    FILE       3-A-06462-6
                                     )
                                     )
                                     )
                                     )
                                     )
      Defendant.



TO:




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                    -




                              1st        September


                                    SWIFT
 Case 1:23-mi-99999-UNA Document 2835-6 Filed 09/01/23 Page 107 of 141




                             800

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  Case 1:23-mi-99999-UNA Document 2835-6 Filed 09/01/23 Page 108 of 141




                                                       -

                      -

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4859-1421-
 Case 1:23-mi-99999-UNA Document 2835-6 Filed 09/01/23 Page 109 of 141




                                        )
                            ,           )
                                        )
     Plaintiffs,                        )        ACTION
                                        ) FILE     ____________
v.                                      )
                                        )                    uperior
                                        ) of
                                        ) No. 23-A-06462-6]
                                        )
                                        )
     Defendant.




                                        1.

                        3           s

BARNES              s



                                ,

BARNES
Case 1:23-mi-99999-UNA Document 2835-6 Filed 09/01/23 Page 110 of 141




   3-A-06462-6         uperior

                                                                uperior

   A                                              .”

                                 2.



          3




                                 3.




                                 4.




                                            Huggins

                 the
 Case 1:23-mi-99999-UNA Document 2835-6 Filed 09/01/23 Page 111 of 141




                                  5.




                                  6.

      Plaintiffs                                          are residents

Atlanta            citizens

                                  7.




                                  8.

                     s

                              s

1332(a)(1).

                                  9.
 Case 1:23-mi-99999-UNA Document 2835-6 Filed 09/01/23 Page 112 of 141




    P

                                             See




                                            10.

                                        ’                      s

              334,011.52 See                 ¶ 17 Plaintiffs



                                       See                         Plaintiffs



          multipliers          [a]ny

                 See

controversy



                                            11.
    Case 1:23-mi-99999-UNA Document 2835-6 Filed 09/01/23 Page 113 of 141




§




                                    12.



§




            1st      September
 Case 1:23-mi-99999-UNA Document 2835-6 Filed 09/01/23 Page 114 of 141




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                      -

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  Case 1:23-mi-99999-UNA Document 2835-6 Filed 09/01/23 Page 116 of 141




                                                             REMOVAL




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4867-4081-
 Case 1:23-mi-99999-UNA Document 2835-6 Filed 09/01/23 Page 117 of 141




                                  )
 BARNES,                          )
                                  )
           Plaintiffs,            )        ACTION
                                  )       23-A-06462-6
 v.                               )
                                  )
                                  )
 COMPANY,                         )
                                  )
                                  )
           Defendant.             )




                                                          ’




       Plaintiffs’

granted.



                                      s



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  Case 1:23-mi-99999-UNA Document 2835-6 Filed 09/01/23 Page 118 of 141




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benefits.



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                           s             s

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          Plaintiffs



Policy.



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payment
  Case 1:23-mi-99999-UNA Document 2835-6 Filed 09/01/23 Page 119 of 141




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Plaintiffs are

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         Plaintiffs                                                   s

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Case 1:23-mi-99999-UNA Document 2835-6 Filed 09/01/23 Page 120 of 141




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    Plaintiffs

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Case 1:23-mi-99999-UNA Document 2835-6 Filed 09/01/23 Page 121 of 141




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             (1)

                      (a)
                            ag



                      (b)


                      (c)                                           –
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             (2) We

                      (a)




                      (b)



                      (c)



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    foun

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        We
                                                               We
Case 1:23-mi-99999-UNA Document 2835-6 Filed 09/01/23 Page 122 of 141




    d. Neglect                          insured



         We
                                          we




    a.


    b



              (3)
                    remo

              (4)


              (5) maintenance

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    Plaintiffs are



                                         –

                           – DWELLING

    We
                                                        –
    INSURED
                    we
  Case 1:23-mi-99999-UNA Document 2835-6 Filed 09/01/23 Page 123 of 141




                             –

        We

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        value.




        Plaintiffs are



                                           – CONDITIONS
        1.




        Plaintiffs                                            s



Plaintiffs

                                  – CONDITIONS




    Plaintiffs                                            s



provides:

                                  – CONDITIONS
Case 1:23-mi-99999-UNA Document 2835-6 Filed 09/01/23 Page 124 of 141




    2.                                                               you
                         us


         a                       us   our




             (2)


    b.

             (1)


             (2)

    c.

             (1)


             (2)


    d              we



             (3)         us                                                us


             (4)                             insured:

                   (a)

                   (b)

             (                               insured’s
                                                         insured’s

                   us                       your
                              your
  Case 1:23-mi-99999-UNA Document 2835-6 Filed 09/01/23 Page 125 of 141




                 (1)

                 (                  insured


                 (2)

                 (3)
                       policy;

                 (4)


                 (5)

                 (6)


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Plaintiffs are



part:

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  Case 1:23-mi-99999-UNA Document 2835-6 Filed 09/01/23 Page 126 of 141




        Plaintiffs

                          – COVERAGES

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                1.
                                                     w

                     insured
                                   Our


                     a.

                     b.                  your
                            elsewhere

                     c.

                          TWENTIETH

                                                s



Plaintiffs’

$108,816.19.

                      TWENTY-FIRST




                     TWENTY-SECOND




                                   –
Case 1:23-mi-99999-UNA Document 2835-6 Filed 09/01/23 Page 127 of 141




                               – DWELLING

         1.        –                                   –

              a. We
                                                                Declarations
                                                                           –
                                                                 – DWELLING


                   (1)                                                   we will


                             Declarations


                   (2)                                                             we
                                                                you


                                            Declarations

                   (3)
                                  you

                                             us


                   (4)       we



                                                                      –
                                                   .

              b.                   We

                   Declarations                   –O       Structures.



                        –

         1.              –

                   a.        We
Case 1:23-mi-99999-UNA Document 2835-6 Filed 09/01/23 Page 128 of 141




                                                –
                                            –


                     (1)                                 we


                     (2)                                 we

                                      you


                     (3)
                                                    we
                                                .

            b.

                     (1)



                     (2)



                     (3)

                 H         we


                     (1)        our

                     (2)

                     (3)               e                     is
                                or

                     (4)

                 TWENTY-THIRD

                                                         .
Case 1:23-mi-99999-UNA Document 2835-6 Filed 09/01/23 Page 129 of 141




              TWENTY-FOURTH



               TWENTY-FIFTH



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    2.   We

               We




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         g.    Fungus




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                                fungus

                              fungus



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Case 1:23-mi-99999-UNA Document 2835-6 Filed 09/01/23 Page 130 of 141




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                         you


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                                                          fungus


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           We             fungus
Case 1:23-mi-99999-UNA Document 2835-6 Filed 09/01/23 Page 131 of 141




               We




                             insured.




                     (b)

                     compaction;




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                   we                                           l
               insured                        fungus
 Case 1:23-mi-99999-UNA Document 2835-6 Filed 09/01/23 Page 132 of 141




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                    we
                                          Declarations
                             fungus



                                      fungus



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          COVERAGES                            —




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                TWENTY-SIXTH




ind

                                      PARTIES

                                         1.




                                         2.
Case 1:23-mi-99999-UNA Document 2835-6 Filed 09/01/23 Page 133 of 141




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                                  3.

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  Case 1:23-mi-99999-UNA Document 2835-6 Filed 09/01/23 Page 134 of 141




                                    5.

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                                               5      ’



                                   6.

                                                          ’

                                11-QB-7846-3                   s




Plaintiffs’

                                   7.

                                                                   Plaintiffs’

                                                          s




                                                                             ’
  Case 1:23-mi-99999-UNA Document 2835-6 Filed 09/01/23 Page 135 of 141




                                   8.

                                                       ’




Plaintiffs’




                                   9.

                                                       ’




otherwi                                                                   ’




                                   10.

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                           s                                      wind
  Case 1:23-mi-99999-UNA Document 2835-6 Filed 09/01/23 Page 136 of 141




Plaintiffs’

                                    11.

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                                s

Property                                             s




                                             ’

                                    12.

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some

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                                    13.

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                            s

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Compl

                                    14.
 Case 1:23-mi-99999-UNA Document 2835-6 Filed 09/01/23 Page 137 of 141




                                    15.

                                                                       ’

                            A                            an estimate

Defendant

                                ’

                   failed                                 claim.

                                    16.

                                                                       ’

                                                     s




                                                          ’

                                    17.

                                                                       ’




                                                                           ’



                                          payment.

                                    18.

                                                     8                 ’
  Case 1:23-mi-99999-UNA Document 2835-6 Filed 09/01/23 Page 138 of 141




                                                                      3-

4-6

Plaintiffs’



                                   19.

                                                   9          ’




19            ’

                                   20.

                                   20         ’




                                   21.



                                   22.

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                                   23.
  Case 1:23-mi-99999-UNA Document 2835-6 Filed 09/01/23 Page 139 of 141




                               –

                                   24.

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Plaintiffs’                                                                   ’

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                                   26.

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                                   27.

                                    7            ’




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                                   28.

                                    8            ’
  Case 1:23-mi-99999-UNA Document 2835-6 Filed 09/01/23 Page 140 of 141




                                   29.

                                    9         ’




                                   30.

                                   30         ’




                                   31.

                                                   1            ’ Complaint.

                                   32.

                                                                          2

Plaintiffs’                                                     2              ’

Complaint.

                                                         -4-6

                                   33.

                                                                          3

Plaintiffs’                                                                    ’

                          2.
  Case 1:23-mi-99999-UNA Document 2835-6 Filed 09/01/23 Page 141 of 141




                                   34.

                                    4          ’




                                         and

those duties

                                   35.

                                    5          ’




                                         and



                                   36.

                                                       6        ’




Policy.

                                   37.

          De                                       7       ’ Complaint.

                                   38.

                                                   8       ’ Complaint.

                                   39.

                                                   9       ’ Complaint.
